    Case 1:99-cr-10098-RGS Document 716 Filed 02/19/16 Page 1 of 1




                UNITED STATES DISTRICT COURT
                 DISTRICT OF MASSACHUSETTS
              CRIMINAL ACTION NO. 99-10098-RGS

                  UNITED STATES OF AMERICA
                                  v.
                          DAVID TURNER

      MEMORANDUM AND ORDER ON BOSTON GLOBE
    MEDIA PARTNERS, LLC’S MOTION TO INTERVENE AND
            TO TERMINATE SEALING ORDERS

                          February 19, 2016

STEARNS, D.J.

     The motion is ALLOWED in part and DENIED in part. The
document docketed as No. 468 (Sentencing Memorandum by David
Turner) will be unsealed as requested, the government noting that it is
not opposed to the unsealing. Document No. 468 concerns Turner’s
original sentencing in 2003. The documents docketed as Nos. 599 and
600 (Sealed Motion[s] entered as to Carmello Merlino, Stephen
Rosetti, David Turner, [and] William Merlino) will remain under seal.
From the court’s inspection, it appears that these documents were
mistakenly docketed in this case and are unrelated to any aspect of
Turner’s existing sentence.
                              SO ORDERED.
                              /s/ Richard G. Stearns
                              __________________________
                              UNITED STATES DISTRICT JUDGE
